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                                    New iMessage                     Cancel



                   To: Jaclyn Hotard

                             Tue, Dec 5 at 1 :44 PM


                      Proposed grain
                      elevator in St. John
                      Parish faces new
                      hurdle I
                      Environment I
                      nola.com
                       nola.com




                    +


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                 cham        --


                 Banner grabbed her coat and walked out with
                 other supporters. They felt mistreated, even
                 traumatized, she said. "My elders were kicked
                 out of chambers. People that I respect were
                 getting up there to defend us and make sure our
                 voices were protected."


                 Afterward, on Wednesday, Banner's attorney
                 William Most sent a letter to the legal counsel
                 for St. John Parish.


                 While public bodies are able to limit comments,
                 by setting time limits and ensuring that the
                 comments pertain to that day's agenda items,
                 Wright went too far, Most wrote. In fact, Most
                 alleged that Wright had violated Banner's First
                 Amendment rights, which protect free speech,
                 by directing his "threat" to Banner and not
                 allowing her to address the council.


                 Also, Most wrote, Banner was not in any danger
                 of committing a crime, as Wright had alleged,
                 because much of the criminal statute Wright
                 had cited was invalidated by a federal judge in
                 2014. The state legislature's website shows that
                 the statute was found to be unconstitutional by
                 a commission as early as 2016.
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